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                           +23 5,* )-453-(5 2+ (2/60'-&


3?==9CC55 ?> ?E5AB978C 1>4 A56?A=&
D>9C54 BC1C5B 8?DB5 ?6 A5@A5B5>C1C9E5B
*)-. AH[IYVS 8TYWL ?MMPJL 2YPQKPSN
FHWOPSNXTS& 4'3' *(-)-&
                                 '-(,.0,++&

                         Z'

F9<<91= @' 21AA& PS OPW TMMPJPHQ JHUHJPX[ HW
1XXTVSL[ 7LSLVHQ TM XOL DSPXLK BXHXLW&             3HWL >T' GGGGGGGGGGGGG
DSPXLK BXHXLW 4LUHVXRLSX TM ;YWXPJL
/-( @LSSW[QZHSPH 1ZLSYL& >'F'
FHWOPSNXTS& 4'3' *(-+(0 HSK

F9<2DA <' A?BB& ;A'& PS OPW TMMPJPHQ JHUHJPX[ HW
BLJVLXHV[ TM 3TRRLVJL&
DSPXLK BXHXLW 4LUHVXRLSX TM 3TRRLVJL&
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3?==9CC55 ?> ?E5AB978C 1>4 A56?A=&
D>9C54 BC1C5B 8?DB5 ?6 A5@A5B5>C1C9E5B
*)-. AH[IYVS 8TYWL ?MMPJL 2YPQKPSN
FHWOPSNXTS& 4'3' *(-)-&
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F9<<91= @' 21AA& PS OPW TMMPJPHQ JHUHJPX[ HW
1XXTVSL[ 7LSLVHQ TM XOL DSPXLK BXHXLW&             3HWL >T' GGGGGGGGGGGGG
DSPXLK BXHXLW 4LUHVXRLSX TM ;YWXPJL
/-( @LSSW[QZHSPH 1ZLSYL& >'F'
FHWOPSNXTS& 4'3' *(-+(0 HSK

F9<2DA <' A?BB& ;A'& PS OPW TMMPJPHQ JHUHJPX[ HW
BLJVLXHV[ TM 3TRRLVJL&
DSPXLK BXHXLW 4LUHVXRLSX TM 3TRRLVJL&
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Case 1:19-cv-03557-RDM Document 1-2 Filed 11/26/19 Page 9 of 18
Case 1:19-cv-03557-RDM Document 1-2 Filed 11/26/19 Page 10 of 18
Case 1:19-cv-03557-RDM Document 1-2 Filed 11/26/19 Page 11 of 18
Case 1:19-cv-03557-RDM Document 1-2 Filed 11/26/19 Page 12 of 18
Case 1:19-cv-03557-RDM Document 1-2 Filed 11/26/19 Page 13 of 18
Case 1:19-cv-03557-RDM Document 1-2 Filed 11/26/19 Page 14 of 18
Case 1:19-cv-03557-RDM Document 1-2 Filed 11/26/19 Page 15 of 18
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                       -0 4,* 50-4*) 34&4*3 )-342-(4 (1524
                           +12 4,* )-342-(4 1+ (1.5/'-&


3?==9CC55 ?> ?E5AB978C 1>4 A56?A=&
D>9C54 BC1C5B 8?DB5 ?6 A5@A5B5>C1C9E5B
*)-. AH[IYVS 8TYWL ?MMPJL 2YPQKPSN
FHWOPSNXTS& 4'3' *(-)-&
                                 '-(,.0,++&

                         Z'

F9<<91= @' 21AA& PS OPW TMMPJPHQ JHUHJPX[ HW
1XXTVSL[ 7LSLVHQ TM XOL DSPXLK BXHXLW&             3HWL >T' GGGGGGGGGGGGG
DSPXLK BXHXLW 4LUHVXRLSX TM ;YWXPJL
/-( @LSSW[QZHSPH 1ZLSYL& >'F'
FHWOPSNXTS& 4'3' *(-+(0 HSK

F9<2DA <' A?BB& ;A'& PS OPW TMMPJPHQ JHUHJPX[ HW
BLJVLXHV[ TM 3TRRLVJL&
DSPXLK BXHXLW 4LUHVXRLSX TM 3TRRLVJL&
),() 3TSWXPXYXPTS 1ZLSYL& >'F'
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